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 5
   ATTORNEY FOR DEFENDANT
 6 PRAKAZREL MICHEL

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                                  FOR THE DISTRICT OF COLUMBIA
 9

10 UNITED STATES OF AMERICA,                            )   Case No.: 19-148-1 (CKK)
                                                        )
11                       Plaintiffs,                    )   EMERGENCY MOTION TO REQUEST
                                                        )   REMOVAL OF PLEXIGLASS BARRIER
12                                                      )   AT DEFENSE COUNSEL LECTERN FOR
                                                        )   DURATION OF TRIAL
13 vs.                                                  )
                                                        )
14                                                      )
                                                        )
15 PRAKAZREL MICHEL, ET AL.                             )
                                                        )
16                                                      )   The Honorable Colleen Kollar-Kotelly
                        Defendants.                     )
17                                                      )
     __________________________________                 )
18

19
            COMES NOW PRAKAZREL MICHEL, by and through counsel of record, and hereby files
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     this emergency motion to request removal of the single plexiglass barrier at defense counsel lectern
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22 for duration of trial and in support thereof, states the following:

23       1. This is being filed as an emergency motion due to the time sensitivity of the request and to
24          allow appropriate Court staff to perform any work required to fulfill this request.
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         2. Since the first day or two of trial has been reserved for voir dire, defense counsel expects
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            that during time not spent in the trial courtroom, there would be sufficient time to allow
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            Court staff to remove such barrier.
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                                              -1-
                   DEFENDANT’S MOTION TO REQUEST REMOVAL OF PLEXIGLASS BARRIER
                          AT DEFENDANT’S LECTERN FOR DURATION OF TRIAL
          Case 1:19-cr-00148-CKK Document 254 Filed 03/24/23 Page 2 of 4




 1       3. Due to lead defense counsel recent knee-related injury, he has requested, at the option of the

 2           Court, that defense lectern not be removed from the courtroom so it can be relied upon for
 3           those times counsel must stand, such as during its opening and closing arguments, and
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             during direct and cross examination of witnesses.
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         4. To effectively examine witnesses and participate in trial, it will be challenging to do so with
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             the plexiglass barrier located at the lectern because it creates a distorted view to the jury, and
 7

 8           vice-versa.

 9       5. Counsel appreciates and respects the need for health safety in the courtroom but believes

10           that removing the single plexiglass barrier at defense counsel lectern will not affect the
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             safety of the jury or Court staff because of the farther location of the lectern to others – i.e.,
12
             not close enough in distance to create a risk when speaking. Indeed, the middle lectern,
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             typically used by counsel during trial has no plexiglass barrier but is closer to Court staff
14
             and the jury.
15

16       6. Since the Court has already allowed the removal of plexiglass barriers at counsel tables, and

17           because the government has chosen to remove its lectern, this request only affects defense
18           counsel.
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             For the reasons set forth above, defense respectfully requests the temporary removal of the
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     plexiglass barriers at counsel table for the duration of the trial.
22

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                    DEFENDANT’S MOTION TO REQUEST REMOVAL OF PLEXIGLASS BARRIER
                           AT DEFENDANT’S LECTERN FOR DURATION OF TRIAL
        Case 1:19-cr-00148-CKK Document 254 Filed 03/24/23 Page 3 of 4




 1 DATED: March 24, 2023                Respectfully submitted,

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 8
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               DEFENDANT’S MOTION TO REQUEST REMOVAL OF PLEXIGLASS BARRIER
                      AT DEFENDANT’S LECTERN FOR DURATION OF TRIAL
          Case 1:19-cr-00148-CKK Document 254 Filed 03/24/23 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE

 2          I declare under penalty of perjury that the foregoing is true and correct this 24th day of
     March 2023, at Washington D.C., and that this document is executed under penalty of perjury
 3
     according to the laws of the United States of America.
 4

 5
                                                           ____________________
 6                                                         Charles R. Haskell
                                                           Attorney at Law
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                   DEFENDANT’S MOTION TO REQUEST REMOVAL OF PLEXIGLASS BARRIER
                          AT DEFENDANT’S LECTERN FOR DURATION OF TRIAL
